                    IN THE UNITED STATES DISTRICT COURT

                FOR THE EASTERN DISTRICT OF NORTH C~OLINA

                                                    DIVISION




                                                                ,NO.   5:/0. el/''17r- F
                                                                    COMPLAINT




        1:   Plaintiff resides at            5/92/Jks.8Y
                                                       , Sr­
       t#ltS~A!; 1V~~1if         t!tIt<ouNA 2.762.3

        2. Defendant (s)    I   name(s)          '5N/1lI8m~Anf',;li.;c,
        ,Z4-~ I,    WtLCO        f;U/1J
       " M~#r           ~d~~11 :J.7Sgg
      'Location of principaloffice(s) of the named defendant(s):
      2~ I       UlIL.--OP t3,,(/~
         WILSD N ,       Ale         t?:189:3            ','    "      '                 .




       Approximate,nu'mber of individuals employed by                          def~n~ant:

                   bOO '
      ,3. This action is brought pursuant to Title VII of the Civil
Rights Act of   ~964   for employment discrimination.                      Jurisdiction is
specifically    conferred       on    this       Court    by   42    U.S .C.    §   2000e-S.

                                        .    1




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Equitable. and other relief are also sought under 42 U.S.C.            '§   20003­

5 (g) ,



           4.	 'The acts complained of in this sU,it concern:

              (A)

              (8 )

              ( C)                  Failure to promote me.

              (D)·                  Other acts as specified below:

 /?ACIQL       Z2J£c"e;I'1/A/A8 FA I


J/LPCllll~A/ ,,~ ~/U- ;~rE W1k1.r ,tis /(e?fj1¥P.r
UtfUYIllO r



          S.	 Plaintiff is:

             (AI .     )V~~?pre~entlyemplOyed.bY the defendant.·
             (8)	               ,   not presently employed by the defendant.

                     The dates of his employment were        (J~~(!){z
                     c1~31/P9                  Employment was terminated

                     because:
                     ( 1)    / ' plaintiff was discha,rged.·

                                     p~aintiff   was laid off.

                            _ _ _ plaintiff ·left job voluntarily.





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              6. Defendant(s)' conduct is discriminatory with    ~espect   to
      the following:
               (A) . _ _ ~""'-_my   race.
               (B)   _____ my religion.
              (e)    _____ my sex.

              (D) _______ my national origin.

             , (E)   ___~_ other as specified below:





                7. The name(s), race, sex, and the position or title of
     .the indivi~ual(s) wh6 allegedly discri~inated a~airist me during th~
     . period of my employment with the defenda~t company is (are)
              ~ ,E<iCG' ~             CRCAiJr AI~/t) ..




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           9. The nature of my complaint, i.e. the manner in which the

 '~ndividual (5) named above d~scrimina'ted against me in terms, ~f the

 conditions of my employment is as follows:                       ,
 ~D V~PEP LtvHr1»'!7I 72' MvC~/,t}N ( ~y S~mAP )
 6vT O/P A/t:JT ~AJ) /Qc ~S??nge- ' ~~-rVNr1}'
                                                        ,                  .

 Y1JOVLP NoT /H1.tJW me 70 ~ !3A"'~Dh1 »#p ekl/CdP
                                    Cit)
llJ.e"$ ~rE (M' /i;P:fBE e'Al1He"vA/e

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~ ~/(I//PI<5lJ #;if/)~Ca:J$4"?O A;o#.. '~Ai
                    ~                                       QS
                                                                        w_
~;£ /IJH; A ~~Nt>r~ ID/l ~~ bt$d tP((fY /~
8£Yo &ez> ,II1f1 7/1/Jt//UlA/a€               /P#/~..rtvA! &>//1: ~AI
 fMv+      c




                                >



       11.      I   filed charges with the Equal Employment Opportunity
Commission regarding defendant's alleged discriminatory conduct on
or about   r   SEE ',£EdeNS'   433-2009   01943     I   hav~     attached a copy of
the Notice-of-Right-to-Sue letter issued by the Equal Employment


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,   ,


        Opportunity Commission .. This letter was received'by me on




               12. I   seek the following relief.:
               (A)      v::
                        7
                                recovery of 'back pay;
               (B)          (   reinstat,ement: to my former job;
               (C)     7        trial by jl,.lry on all issues so triable;
               and any other relief as may be appropriate, including



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                                                      ADDIlESS ANO PHONE NUMB E'll OF P\..A INTIFf




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                U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                Raleigh Area Office

                                                                                                       1309 Annapolis Drive
                                                                                                   Raleigh, NC 27608-2129
                                                                                 Intake [nfonnation GrouJ:: (800) 669-4000
                                                                            Intake Information Group ITY: (800) 669-6820
                                                                                        Raleigh Status Line: (866) 408-8075
                                                                                                Direel Dial: (919) 856-4075
                                                                                                        ITY (919) 856-4296
                                                                                                       FAX (919)856-4151
                                                                                                   Website: www eeoc.gov
August 6, 20 I0


Eddie Cooper
502 Mosby Street
Wilson, NC 27893

lh:	                 StvfTTHFIEl.. D P!,CKINn

         ('1)0pr-r vemlS
         EEOC Charge No.: 433-2009-01943


Dear Mr. Cooper:

The processing of your charge of employment discrimination in the above referenced matter has been
completed. The Equal Employment Opportunity Commission (EEOC) is dismissing your charge and is
issuing to you a Notice of Right to Sue.

Regarding your allegations that you were denied a reasonable accommodation because of your race, color,
sex, and disability were not timely filed. In other words, you waited too long after the dates of the alleged
discrimination to file your charge.

The evidence is insufficient to establish that the Respondent retaliated against you for opposing an
unlawful employment practice that the Commission enforces. Engaging in Union activity is not sufficient
to establish retaliation under Title VII of the Civil Rights Act of 1964, as amended.

In view of these facts, it is unlikely that further investigation of your charge will result in a finding that a
violation of the law(s) under which you filed your charge has occurred, For that reason, we have
dismissed your charge and closed your file.

Enclosed you will find a Dismissal Notice of Right to Sue and an Information Sheet which describes your
right to pursue the matter in court by filing a lawsuit within 90 days of your receipt of the dismissal notice.
This 90-day period for filing a private lawsuit cannot be waived, extended or restored by EEOC.

I regret that we cannot be of further assistance to you in this matter.

Sincerely,




Nancy L. Chapman
Tn','estigRtm
Investigator

Enclosures




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 ErtdOluri with EEOC
 Form 181 (11100)
                                              INFORMATION RELATED TO FILING SUIT

                                            UNDER THE LAWS ENFORCED BY THE EEOC

                                (This information relates to filing suit in Federal or State coun under Federallaw.
                       If you also plan to sue claiming violations of State law, pleBse be aware that time limits and other
                              provisions of State law may be shoner or more limited than those described below.)


                                        Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA).
 PRIVATE SUIT RIGHTS
                                        the Genetic InfonnatJon Nondiscrimination Act (GINA). or the Age
                                        Discrimination In Employment Act (ADEA):

 In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge wlthl"
 10 day. of the date you fecelve thl. Notlc•.      Therefore, you should keep a record of thl. dat•. Once this 90­
 day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
 consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
 him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
 manner, It Is prudent that your suit be filed within 90 dly. of the date thl. Notlc. WI. melled to you (as
 indicated where the Notice is signed) or the date of the postmarx, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court Is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complalnf' that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may Include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                ••   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful Violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 Y'IA (3 veart) before you fll' .ult may not be collectible. For
example, If you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
befOre 7/1/1Q - not 12/1/10 - in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 9000day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, If you also plan to sue under Title VII, the ADA, GINA or the ADEA, In addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION                   •• 11tle VII. the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court haVing Jurisdiction
In your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requIres (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 9000day period mentioned above,
because such requests do D21 relieve you of the reqUirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                            ••   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or jf you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information In EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, plea•• make your review request within 6 month. of thl. Notice. (Before filing SUit, any request should be
made within the next 90 days.)

           IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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